             Case 1:21-cr-00451-CJN Document 42 Filed 05/26/22 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
        v.                                    :       Case No. 21-cr-00451-CJN-1
                                              :
SUZANNE IANNI                                 :
                                              :
                         Defendant.           :


                          NOTICE OF SUBSTITUTION OF COUNSEL

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and the undersigned Trial Attorney, Thomas Campbell, hereby informs

the Court that he is entering his appearance in this matter on behalf of the United States.

Assistant United States Attorneys Brittany Keil and Stuart Allen no longer represent the United

States in this matter.

                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              United States Attorney
                                              D.C. Bar No. 481052

                                      By:     /s/ Thomas Campbell
                                              Thomas D. Campbell
                                              Trial Attorney
                                              Massachusetts Bar No. 703271
                                              Criminal Division, Fraud Section
                                              U.S. Department of Justice
                                              1400 New York Ave. NW
                                              Washington, DC 20005
                                              Tel: (202) 262-7778
                                              Email: thomas.campbell@usdoj.gov
Dated: May 26, 2022
